
PER CURIAM.
The plaintiff appeals a final judgment awarding defendant/counterclaimant money damages for abuse of process. He alleges the trial court erred in rendering a final judgment in the case while an appeal from a nonfinal order was pending in this court. We find this point well taken.
*511The trial court entered a final judgment on May 10, 1983, prior to the disposition of an appeal from a nonfinal order in this case. The appeal was eventually dismissed on July 8, 1983. Pursuant to Rule 9.130, Florida Rules of Appellate Procedure, a lower tribunal may not render a final order disposing of a case pending review of a non-final order.
We, therefore, reverse and remand this matter for further proceedings which may include reinstatement of the final judgment on a date subsequent to July 8, 1983.
REVERSED AND REMANDED.
ANSTEAD, C.J., and BERANEK and WALDEN, JJ., concur.
BY ORDER OF THE COURT:
All points raised in appellant’s brief were considered and found to be without merit except as contained in this court’s opinion of February 1, 1984. The appellant’s motion for rehearing is denied.
